






NO. 07-05-0442-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



DECEMBER 28, 2005



______________________________




BRYCE MAEDA, ET AL., APPELLANTS



V.



DAVID AND RUTH TIMMONS, APPELLEES




_________________________________



FROM POTTER COUNTY COURT AT LAW NO. 1;



NO. 93,936-1; HONORABLE W.F. "CORKY" ROBERTS, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Following a pro se notice of appeal challenging a default judgment, appellants Bryce
Maeda, et al. were notified by letter dated December 9, 2005, to pay the required filing fee
of $125 within ten days, noting that failure to do so might result in dismissal.  Unless a party
is excused from paying a filing fee, the Clerk of this Court is required to collect filing fees
set by statute or the Supreme Court when an item is presented for filing.  See Tex. R. App.
P. 5 and 12.1(b).  Although the filing of a notice of appeal invokes this Court's jurisdiction,
if a party fails to follow the prescribed rules of appellate procedure, the appeal may be
dismissed.  Tex. R. App. P. 25.1(b).  To date, the fee remains unpaid.  Thus, we must
dismiss the appeal.

	Accordingly, the appeal is dismissed for failure to comply with the Texas Rules of
Appellate Procedure and with a notice from the Clerk requiring payment of the filing fee. 
Tex. R. App. P. 42.3(c).


							Don H. Reavis

						    	   Justice




